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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


THE UNITED STATES OF AMERICA,                        )
                                                     )
                        PLAINTIFF,                   )
                                                     )
   -vs-                                              )      Case No. 11-40047-08-RDR
                                                     )
HECTOR MOTA,                                         )
                                                     )
                        DEFENDANT.                   )
                                                     )

                                 ORDER FOR CONTINUANCE

          NOW, on this 4th day of January, 2012, the above-entitled matter comes before the Court

upon the Motion of the Defendant to continue the plea hearing presently scheduled for December

28, 2011 to a time to be determined by the Court.

          The Court examines the files and after reviewing the Motion and being fully advised in

the premises, finds that counsel for Defendant needs additional time to further discuss the Plea

Agreement with the Defendant. Assistant United States Attorney Jared Maag has no objections

to this request for continuance of the plea hearing. The court rules that good cause has been

shown that the Defendant’s Motion for Continuance of the plea hearing should be sustained.

          The Court further finds that the period of delay resulting from the extension granted

pursuant to this Order shall be excludable time as provided for in 18 U.S.C. 3161 (h)(7) in that

the ends of justice served by granting such continuance outweigh the best interest of the public

and the Defendant in a speedy trial.

          IT IS THEREFORE ORDERED that the Defendant’s Motion for Continuance of the

plea hearing shall be granted and the plea hearing in the above-entitled matter will be

rescheduled to the 20th day of January, 2012 and that the period of delay resulting from such
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continuance shall be excludable time as provided for by the Speedy Trial Act 18 U.S.C.3161

(H)(7).

          IT IS SO ORDERED.

                                                s/Richard D. Rogers
                                                United States District Judge



APPROVED BY:



  S/Charles A. O’Hara
 Charles A. O’Hara, Attorney for
 Defendant, Hector Mota



 S/Jared S. Maag
 Jared S. Maag
 Assistant U.S. Attorney
